
233 S.W.3d 771 (2007)
In the Interest of D.S., a minor.
No. ED 89135.
Missouri Court of Appeals, Eastern District, Division Four.
September 25, 2007.
Mary E. Davidson; Schwartz, Herman &amp; Davidson, Guadrian Ad Litem, K. Lee Marshall; Christallyn E. McCloud; Bryan Cave LLP, Co-Counsel with GAL Jim B. Merlo, St. Louis, MO, for Appellant.
Donna L. Head, Juvenile Officer, St. Louis, MO, for Respondent.
Before MARY K. HOFF, P.J., and SHERRI B. SULLIVAN, J., and GEORGE W. DRAPER III, J.

ORDER
PER CURIAM.
Charles Sleydin ("Father") appeals from the judgment terminating his parental rights to his minor child, D.S. On appeal, Father argues there was not clear, cogent, and convincing evidence to support the trial court's findings under Sections 211.447, RSMo 2000. We affirm.
We have reviewed the briefs of the parties, the legal file, and the record on appeal, and find the claim of error to be *772 without merit. An extended opinion would have no precedential value or serve any jurisprudential purpose. The parties have been furnished with a memorandum for their information only, setting forth the reasons for this order pursuant to Rule 84.16(b).
